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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

DILIP JANA                                          §
                                                    §
v.                                                  §   NO. 4:24-CV-00698-SDJ-BD
                                                    §
WALMART, INC.                                       §


                                               ORDER

     Pro se plaintiﬀ Dilip Jana ﬁled a motion to compel and for sanctions. Dkt. 75. The court will

strike the motion as premature and order the parties to provide dates for a hearing on the

underlying discovery dispute.

     As a prerequisite to any motion to compel, the order governing proceedings, Dkt. 50 at 5, and

the scheduling order, Dkt. 57 at 4, require the parties to meet and confer in accordance with Local

Rule CV-7(h) and, if they cannot resolve the dispute themselves, contact chambers to schedule a

teleconference. That requirement applies to both represented parties and those proceeding pro se.

     Jana asserts that he conferred with defendant Walmart, Inc., by sending its counsel two emails.

But Local Rule CV-7(h) requires “a personal conference, by telephone or in person,” to discuss

discovery disputes, so his emails were insuﬃcient. Further, Jana did not contact chambers to

schedule a teleconference, so he also failed to satisfy the second prerequisite.

     It is ORDERED that:

     1) the motion to compel, Dkt. 75, is STRUCK as premature; and

     2) within 7 days of the entry of this order:

        a) the parties confer and agree upon dates for an in-person afternoon hearing on the

            discovery dispute; and

        b) Jana email those agreed dates to Judge_Davis_Chambers@txed.uscourts.gov, copying

            Walmart’s counsel.
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     So ORDERED and SIGNED this 11th day of July, 2025.



                                  ________________________________________
                                  Bill Davis
                                  United States Magistrate Judge




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